Case 2:96-cV-02520-.]PI\/| Document 847 Filed 08/08/05 Page 1 of 3 Page|D 1645

FOR THE WESTERN DISTRICT OF TENNESSEHWJI)BV

IN THE UNITED STATES DISTRICT COURT C§;Z_Dc
WESTERN DIVISION

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DARIUS D. LITTLE, “_.\OMAS M.G()U_D
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V. NO. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the months
of July, August, and September of 2004, in the amounts of
$4,601.22, $7,120.67, and $4,941.34. Accordingly, the Clerk of
Court is directed to send the total amount of $16,663.23 to the
Assistant Special Master, Wanda J. Kilgore-Schneider at, 65
Sunhaven Drive, Jackson, Tennessee, 38305.

¢-“

IT 13 so oRDERED THIS 6 DAY OF August, 2005.

€MQ

JON P. MCCALLA
TED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance fzz7
wm nme 53 and/or 79(;1) FnCP on ' ' "

   

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case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
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Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/1emphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

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Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

